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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DHIP, LLC f/k/a DREXEL HAMILTON
 INVESTMENT PARTNERS, LLC,
                                                               19 Civ. ____( )
                            Plaintiff,
                                                               COMPLAINT
                     -against-

 FIFTH THIRD BANK,                                             Jury Trial Demanded

                            Defendant.



        Plaintiff DHIP, LLC f/k/a Drexel Hamilton Investment Partners, LLC, by and through its

undersigned attorneys Dunning Rievman & Davies LLP allege as follows:

                                         NATURE OF THE CLAIM

        1.       This is an action for damages arising from Fifth Third Bank’s breach of its

commitment to provide a fully collateralized business line of credit, resulting in the total and

permanent impairment of Plaintiff DHIP, LLC (formerly known as Drexel Hamilton Investment

Partners, LLC) (“DHIP”), a Service Disabled Veteran Owned Small Business investment

management company registered with the Department of Veterans Affairs and Securities and

Exchange Commission.             Over the course of five months, Fifth Third engaged in a course of

deception and delay, repeatedly assuring DHIP that all material terms of the loan agreement were

agreed to and promising that the transaction would be closing imminently.

        2.       Indeed, Fifth Third cited its “special commitment” to veterans and veteran-owned

businesses in convincing DHIP to terminate its discussions with another bank regarding a

comparable loan. Fifth Third prides itself on showing its appreciation and gratitude for veterans

and soldiers through fundraising efforts and events, special banking privileges to current and




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former U.S. Military, and, in the case of businesses like DHIP, mentoring or protégé relationships

with veteran-owned businesses and their principals.

         3.       Several months into the loan process, on or about May 9, 2013, Fifth Third

informed DHIP’s that each of the then-members would need to have “skin in the game” by

personally guaranteeing the line of credit. Then, in early June 2013 Fifth Third demanded full

cash collateral instead of just a guarantee, and promised that the loan would be a “slam dunk” once

the collateral was in place.

         4.       DHIP raised the collateral by having James Abate deposit collateral and by having

its then-members collectively pledge their shares to induce an affiliated party to provide the

remaining collateral. In reliance on Fifth Third’s promise to provide the line of credit, DHIP had

represented to the Board of Directors of the mutual funds for which DHIP was the investment

adviser (the “Funds”) that DHIP would execute on a plan for growth to gain economies of scale in

the Funds and maintain a high quality, adequately resourced nature of advisory services to the

Funds.

         5.       After being strung along by Fifth Third for months, Mr. Abate, leveraging a

personal business connection on behalf of DHIP, contacted another lender to seek an alternate

route to obtain financing. Fifth Third induced DHIP to abandon its efforts with the other lender,

again assuring DHIP that Fifth Third would provide the line of credit and would make numerous

additional opportunities available to DHIP and its young, rapidly growing veteran-owned business.

In reliance on these representations by Fifth Third, DHIP informed the alternative lender that it

would not be pursuing financing from it, but would instead rely entirely on Fifth Third. Here

again, Fifth Third induced DHIP to rely on it and risked the very continued existence of DHIP’s

business.



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       6.       In the end, after agreeing on all essential terms of the line of credit agreement, and

stringing along DHIP for months, Fifth Third suddenly went silent on the evening of the long-

awaited closing. After Fifth Third promised the application would be a “slam dunk,” induced

DHIP to stop seeking alternative financing, and even sending DHIP an email stating that “legal is

complete, closing is imminent” and “this is done,” Fifth Third reneged on its agreement – by text

message – and never issued the loan. As a result of Fifth Third’s deliberate misrepresentations

and DHIP’s reasonable reliance on them the Service Disabled Veteran Owned Business lost its

business and its first mover position.

       7.       Although entirely hidden from DHIP and its members, the tenor of the internal

conversation among Fifth Third employees about the prospects of DHIP’s application was entirely

different from what Fifth Third communicated to DHIP. The depth of Fifth Third’s duplicity was

revealed to DHIP only through discovery in a related action, exposing that while that Fifth Third

was telling DHIP that the deal was “done” Fifth Third’s internal conversations showed, at various

times, hostility, dismissiveness, serious objections from senior bank officers whose approval was

required as well as Fifth Third’s fixation on the prospect of hosting DHIP’s valuable custodial

accounts. Furthermore, discovery in the related action revealed that nearly all personnel at Fifth

Third involved in the DHIP matter were subsequently terminated, demoted, or retired from the

bank which begs the question of Fifth Third’s own internal assessment of its actions related to the

DHIP matter. DHIP likewise relied on the absence of these highly material omissions, the

existence of which would have revealed Fifth Third’s myriad false representations.




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                                              PARTIES

        8.       Plaintiff DHIP, formerly known as Drexel Hamilton Investment Partners, LLC is a

limited liability company organized under the laws of the Commonwealth of Pennsylvania, with

its principal place of business in New York. The sole member of DHIP is the Partnership to Seek

Remedy Against Fifth Third Bank (the “Partnership”), which has its principal place of business in

New York. The partners of the Partnership are D. Wayne Robinson, a citizen of Georgia; Andrew

Bang, a citizen of New York; and James Abate, a citizen of New Jersey.

        9.       Upon information and belief, Defendant Fifth Third Bank (“Fifth Third”) is an Ohio

corporation with its principal place of business in Cincinnati, Ohio.

                                  JURISDICTION AND VENUE

        10.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, as this is

a civil action between diverse parties and the amount in controversy exceeds $75,000, exclusive

of interest and costs.

        11.      Defendant Fifth Third is registered to conduct business in New York.

        12.      Venue is proper in this District under 28 U.S.C. § 1391(b)(1) and (2).

                                    PROCEDURAL HISTORY

        13.      DHIP’s former members James Abate, Andrew Bang and D. Wayne Robinson

brought an action against defendant Fifth Third Bank on December 23, 2013, entitled Abate et al

v. Fifth Third Bank, 13 CV 9078. After discovery was complete, the Court dismissed all of

plaintiffs’ claims on summary judgment, ruling that all claims belonged to DHIP rather than to

those plaintiffs. The Abate plaintiffs subsequently moved to vacate the judgment under Rule 60

and for leave to amend their amended complaint to include DHIP as plaintiff pursuant to Rule 15.

As of the time this complaint, these motions remain sub judice.



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                                         BACKGROUND

DHIP Was a Service Disabled Veteran Owned Small Business Poised for Explosive Growth

       14.     DHIP’s former members D. Wayne Robinson, Andrew Bang, James Abate, and

Jack Jacobs are all military veterans.

       15.     Mr. Robinson is a service disabled military veteran and retired Command Sergeant

Major, U.S. Army. He received over 39 awards and commendations during his time in the Army.

       16.     Mr. Abate is a former commissioned officer, U.S. Army. He is an experienced fund

manager and financial services professional, having been employed at Centre Asset Management

LLC (“Centre”), GAM, Credit Suisse and PricewaterhouseCoopers as a Managing Director, Fund

Manager, or Manager. At the time Mr. Abate was a member of DHIP, he also had a minority

membership interest in Centre, and, through a consulting agreement, served as an unpaid director

and administrator for Sanlam International Investments USA Holdings, Inc.

       17.     Mr. Bang is a former commissioned officer, U.S. Army, who has wide experience

in asset management and financial services at UBS and GE, and who formerly served as a Vice

President at AIG Global Investments and as a Senior Vice President at Shinan Investments

America.

       18.     In November 2010, DHIP, an Investment Manager with expertise in asset allocation

and manager selection, was formed by Mr. Bang and Mr. Abate along with other members,

including those who worked for Drexel Hamilton, LLC, an institutional broker-dealer, all of whom

were veterans and some of whom were service-disabled military veterans. In December 2011, Mr.

Robinson came on as head of Institutional Business Development and member.




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       19.     In January 2012, the DHIP former members that remained associated with Drexel

Hamilton, LLC divested their ownership in DHIP due to regulatory conflict with being dually

associated with a registered investment adviser and broker-dealer.

       20.     In February 2012, Jack Jacobs, another DHIP former member who is a retired

former commissioned officer (rank of Colonel) and highly decorated (Congressional Medal of

Honor recipient) service disabled military veteran, U.S. Army, who had wide experience in asset

management and financial services with Bankers Trust and Lehman Brothers joined as a member

and Chairman. At this time, DHIP and this Col. Jacobs established a “Heroes and Service Trust,”

enabling it to better offer meaningful employment and ownership opportunities to disabled

veterans desiring a career in investment management with DHIP.

       21.     Upon information and belief, DHIP was the first Department of Veteran Affairs

registered (and pending verification) Service Disabled Veteran Owned Small Business to be

registered with the Securities and Exchange Commission as an investment adviser and the first to

offer its services as the investment adviser to a registered and regulated series of mutual funds.

       22.     As of December 21, 2011, DHIP had launched and was managing a series of public,

regulated mutual funds.

       23.     As a first mover in this area of Disabled Veteran Owned investment management,

DHIP was poised for explosive growth: within a mere 18 months of launching its Funds, DHIP

had $200 million in assets under management from institutions and other investors.

       24.     DHIP’s rate of growth was no less impressive. Prior to its destruction by Fifth

Third, its principals projected that its assets under management would rise exponentially to well

in excess of $1 billion within three to five years.




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       25.      Industry valuation metrics indicated a fair market value of DHIP’s equity – just

prior to the time Fifth Third destroyed it – of approximately $17.5 million and as high as $50.1

million.

                        Fifth Third Pursues a Relationship with DHIP

       26.      In or about September 2012, DHIP’s D. Wayne Robinson and Edward Schrank, a

Vice President at Fifth Third with responsibility for disabled veteran outreach, held an initial

meeting regarding DHIP, having met through veteran-related events.

       27.      Like Mr. Robinson, Mr. Schrank is a service disabled military veteran.

       28.      Mr. Schrank wanted to discuss a relationship between Fifth Third and DHIP

because the bank was planning to launch a group dedicated to veteran-owned businesses.

       29.      Mr. Schrank began actively pursuing and soliciting DHIP to form an alliance with

Fifth Third.

       30.      On or about October 25, 2012, Messrs. Abate, Bang and Robinson attended an

introductory meeting in Chicago with Mr. Schrank, to discuss DHIP’s background, capabilities,

and products.

       31.      During this meeting, Mr. Schrank again expressed Fifth Third’s interest in

developing a long-term relationship with DHIP.

       32.      Through the remainder of 2012 and early 2013, Mr. Schrank gathered information

about, and did due diligence on, DHIP, speaking to Mr. Robinson from time to time.

       33.      Fifth Third and Mr. Schrank continued to court DHIP, inviting Mr. Robinson to a

“DHIP mentoring discussion” over lunch on February 11, 2013. Specifically, Fifth Third told

DHIP that it wanted to showcase DHIP as a “marquee client” for their forthcoming veteran’s

initiative. Fifth Third proposed that eventually DHIP would utilize Fifth Third for custody



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services, meaning that Fifth Third would become the custodian of DHIP’s mutual funds and

considerable assets under management and, to further its their business further. Mr. Schrank said

that getting a loan from Fifth Third would be a formality, or the “first step” that would get DHIP

“in the door” to establish this “Mentor-Protégé” relationship and gain further and broad-based

access to cooperative Fifth Third executives at the highest level to assist in DHIP’s growth.

       34.     DHIP reasonably relied on Mr. Schrank’s assurances that it would be a mere

formality for DHIP to get a loan from Fifth Third and Mr. Schrank’s promise that Fifth Third

would showcase DHIP as a “marquee client” for their forthcoming veteran’s initiative, establish a

“Mentor-Protégé” relationship and gain further and broad-based access to Fifth Third executives

at the highest level to assist in DHIP’s growth. DHIP presented this opportunity to the Board of

Directors and the Board of Trustees of the Funds.

       35.     Mr. Shrank invited Mr. Robinson to attend a February 25, 2013 event at the Pritzker

Military Library in Chicago, at which Fifth Third announced its Military Business Resource Group

(“Military BRG”), an initiative and commitment to veteran-owned businesses to be headed by Mr.

Schrank. At this meeting, Mr. Robinson was introduced to many members of Fifth Third’s senior

leadership.

       36.     Upon information and belief, Fifth Third’s Military BRG was part of Fifth Third’s

outreach to current and former U.S. Military. Fifth Third offers various special banking privileges,

and heads community outreach initiatives aimed at showing its appreciation and gratitude for

veterans and soldiers.

       37.     Fifth Third and its Military BRG continued to pursue DHIP. On or about March 7,

2013, Mr. Robinson met in Chicago with Joseph Carter, a former Army Captain and senior vice




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president and co-chair of the Military BRG at Fifth Third. Mr. Carter, at and subsequent to that

meeting, reiterated Fifth Third’s strong interest in working with DHIP.

      Fifth Third Accepts DHIP’s Loan Request, and Strings Along DHIP for Months

       38.     Following these Chicago meetings, in or about March 2013 Mr. Robinson and Mr.

Schrank began discussing opening a business revolving line of credit (“RLOC”) for DHIP. Mr.

Schrank told Mr. Robinson that the process would take only a couple of weeks to complete.

       39.     The RLOC under discussion was a standard Fifth Third product sold to its business

customers. The RLOC had standard terms and conditions for all customers.

       40.     DHIP needed the RLOC to repay an existing loan that was due and payable on May

31, 2013, for operating capital for daily business operations, and for growth capital for its

continuing expansion. For instance, DHIP planned to hire another disabled veteran for fund sales

and business development and was preparing for a launch of a new fund series and share classes

to complement the existing series of Funds.

       41.     On or about March 15, 2013, DHIP held a conference call with Fifth Third’s Private

Bank during which DHIP gave a presentation regarding DHIP’s capabilities and financials, the

parameters of the “Mentor-Protégé” relationship between Fifth Third and DHIP, and the exact uses

for the RLOC that DHIP requested.

       42.     As of this date, March 15, 2013, Fifth Third knew that DHIP was looking for a loan

for DHIP for repayment of an existing line of credit, to meet other existing obligations, as well as

for working capital and operating expenses to fund the expansion of its business, including the

hiring of additional service disabled veterans to bolster its fund management, distribution and

operating resources.




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        43.     As of about March 28, 2013, weeks after Fifth Third and DHIP began to discuss

the RLOC, Mr. Schrank expressed to Mr. Robinson that he had about 80% informal approval from

Fifth Third’s office of financial institutions to extend an unsecured RLOC to DHIP.

        44.     On or about April 25, 2013, after extensive discussion between DHIP, Mr. Schrank,

and Mr. Carter about the terms of the loan and DHIP’s business, Mr. Schrank told DHIP that he

had submitted DHIP’s formal loan request to a team led by Patrick O’Connell, another vice

president at Fifth Third,:“Your LOC goes into process today.” Mr. Schrank stated that he expected

approval of and closing on the RLOC within one week. This loan request was for a RLOC of

$800,000, to be secured fully by DHIP’s creditor, Centre Asset Management (“Centre”), through

a letter of credit or third-party guarantee.

        45.     On or about May 9, 2013, a conference call was held between Mr. Schrank, Mr.

O’Connell and DHIP regarding the terms of RLOC. On this call, for the first time, Mr. O’Connell

told DHIP that they had to personally provide security for the RLOC, as Fifth Third was requiring

each of DHIP’s then-members to have “skin in the game” in order for Fifth Third to make the loan.

According to Mr. O’Connell, Fifth Third believed that a guarantee by DHIP or its creditor, Centre,

each being limited liability entities, was not adequate.

        46.     During the May 9, 2013 conference call, DHIP agreed to obtain the required amount

of security guarantee. However, Mr. Bang and Mr. Robinson stated during the call (and Mr. Abate

confirmed subsequent to the call) that they were unable to provide security for the loan personally,

and therefore DHIP was forced to pursue other means of getting the security. During the call, Mr.

Abate expressed to Fifth Third that he could potentially provide partial security, though financially

stressful to him, as well as seek out a third-party provider of security for the remainder.




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        47.    During the May 9 conference call, the parties agreed to the financial terms of Fifth

Third’s standard RLOC in the amount of $900,000, fully secured and guaranteed, with payments

of interest only, a one-year term subject to renewal, at an interest rate equal to the prime rate minus

50 basis points.

        48.    All parties understood that the loan was subject to Fifth Third’s standard

documentation. At the time of these discussions, a copy of such terms and conditions was publicly

available on Fifth Third’s website.

        49.    Due to the Fifth Third’s representatives’ communications that the RLOC would be

funded imminently, DHIP induced Centre, DHIP’s lender, to agree to a period of forbearance on

the loan and modified its maturity date to June 30, 2013. Additionally, in reliance on the

representations that the RLOC would be funded imminently, DHIP represented to the Board of

Trustees for the Funds, on or about May 23, 2013, that DHIP would be able to execute its growth

plan.

        50.    Although all material terms had been agreed upon in early May 2013, and although

Fifth Third told DHIP that the loan would take only a few weeks to complete, by June 2013 little

progress had been made towards closing of the RLOC. DHIP pressed Mr. Schrank as to the status

of the RLOC at least on a weekly basis, as the money was needed by the end of June to repay the

Centre loan as well as for operating and growth working capital.

        51.    On May 22, 2013 and June 3, 2103, Mr. Schrank sent internal Fifth Third emails

about the opportunity presented by DHIP’s custodial accounts.

        52.    On June 5, Mr. Robinson conveyed to Mr. Schrank the direness of DHIP’s financial

situation because of Fifth Third’s delay in an email stating, in part:




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       Good Afternoon. In reaching out to 5/3rd back in March to apply for a loan under the
       Business Resource Group’s outreach to veteran owned business, my partners and I weren’t
       aware that this would take 3 months. . . . We are fast approaching an almost 12 week period
       of processing. During this time period our resource status has changed from light green to
       bright yellow.” [Emphasis added].

       53.     In response, Mr. Schrank continued to assure DHIP that everything was on track in

order to dissuade DHIP from seeking financing elsewhere.

       54.     Nobody told DHIP that on June 3, 2013 Mr. O’Connell told Mr. Terborg that he

was “not sure these are clients I’d want to work with.”

       55.     On or about June 6, 2013, Mr. Schrank conveyed to Mr. Robinson for the first time

that the loan would need to be fully collateralized with 100% compensating cash balance held at

Fifth Third. DHIP was surprised by this news, but still intent on securing the loan. Mr. Schrank

told DHIP that with this newly requested 100% collateralization, the loan was a “slam dunk.”

       56.     DHIP continued to press Fifth Third at least weekly about the status of the loan.

For example, on June 17, 2013 Mr. Robinson informed Mr. Schrank that DHIP would like to be

in a position to close on the RLOC this week. Neither Mr. Schrank nor anyone else from DHIP

informed Mr. Robinson or anyone else from DHIP that Fifth Third had not even submitted the

loan application, nor that Mr. Schrank’ s superiors Mr. O’Connell and Mr. Kozak had not heard

anything about DHIP for weeks, nor that Mr. O’Connell wrote to Mr. Terborg that he had “passed

on this deal twice now.”

       57.     On June 26, 2013, the parties’ agreement regarding the terms of the RLOC was

confirmed on a second conference call between Fifth Third’s Mr. Schrank, Patrick O’Connell, and

Steven Terborg and DHIP.

       58.     Mr. O’Connell confirmed the parties’ agreement, but stated that while the interest

rate would be roughly equivalent to prime minus 50 basis points, it would be expressed in terms



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of the equivalent LIBOR-based rate.       Mr. O’Connell stated that this cosmetic change was

necessary because the RLOC product had standard terms.

       59.     On or about July 3, 2013, Mr. Robinson emailed Mr. Schrank “in the interest of

moving the process along as fast as possible.” Mr. Robinson was puzzled by some paperwork

from Fifth Third in which Fifth Third appeared to still be requesting personal collateral from each

of the then-members of DHIP. He took this opportunity to reiterate and ensure that Fifth Third

understood fully that the collateral was being provided not by all the members but by Mr. Abate

and by a third party.

       60.     On or about July 9, 2013, Fifth Third confirmed by telephone that the RLOC would

be issued to DHIP subject to a cash guarantee as collateral and stated that it expected approval and

funding within 48 hours.

       61.     Following the call, on the night of July 9, Mr. Schrank emailed Mr. Robinson, and

confirmed that the line of credit being applied for was $900,000, $600,000 to be secured by a third

party and $300,000 in cash (from Mr. Abate), which all parties had agreed to and which Mr. Shrank

had represented would be a “slam dunk” more than one month earlier. Mr. Robinson responded

the next day, asking for account opening documents for the collateral.

       62.     Once the parties agreed to the terms of the cash collateral, all material terms of the

contract by which Fifth Third agreed to provide the RLOC to DHIP were agreed.

       63.     By mid-July 2013, progress still lagged, despite DHIP’s numerous inquiries about

the status of the RLOC. These inquiries were all met with assurances from Fifth Third that the

RLOC would be approved.




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       64.     Yet nobody from Fifth Third told DHIP that on July 10, 2013 Mr. Terborg told

senior bank officers that “I am going to end this charade and tell them we are not interested in

working with them” and told Mr. O’Connell that “we have played this game long enough.”

       65.     Nor did Fifth Third tell DHIP that on July 11, 2013, Fifth Third Business Banking

leader and senior vice president Timothy Doyle replied, “I am out.”

       66.     Instead, during this period, Mr. Schrank and Mr. Doyle, Mr. Schrank’s supervisor,

repeatedly represented to DHIP that the RLOC would be approved. In reliance on these false

assertions, DHIP continued to execute on its well-articulated plan for growth of advisory services

and expanding its capabilities to include now moving formally ahead with the costly organizational

undertaking of launching another mutual fund to complement its existing stable of fund offerings.

       67.     Then, on or about July 17, 2013, Mr. O’Connell promised Mr. Abate by email that

he would send a commitment for him to review “shortly,” and assured him that because the loan

was fully collateralized, there was no approval risk because “we are not underwriting based on

performance on these [requested financial documents] since we have the collateral we have . . . .”

       68.     Also on July 17, in response to Mr. O’Connell’s July 17 email, Mr. Abate reminded

him of DHIP’s need for immediate funding.

       69.     Yet, further delay ensued. Again, on July 23, DHIP reiterated its need for funding

by July 25, the end of the week, and Mr. O’Connell advised that the DHIP loan process was

“bumped to the front of the line” and that “[t]his should be wrapped up this week.” Once again,

Fifth Third promised the loan would be approved and disbursed within 48 hours.

       70.     As of July 25, 2013, Fifth Third had still not provided instructions to activate the

accounts to deposit the loan collateral, despite numerous requests by DHIP to open and fund the

accounts.



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       71.     Fed up with the unexplained delays, Mr. Abate told Mr. Schrank that he was

discussing alternate financing with J.P. Morgan despite the myriad of promised benefits which

would accrue to DHIP and its members from the Mentor-Protégé relationship with Fifth Third.

DHIP’s financial condition and doubt about its ability to execute its plans for intended growth and

distribution initiatives was becoming an increasing issue of concern to the mutual fund Board of

Trustees. The need for DHIP to obtain financing was paramount.

       72.     On July 25, following a conversation with J.P. Morgan regarding obtaining a loan

there, Mr. Abate received an email from J.P. Morgan providing the account-opening

documentation for a savings account that would hold a portion of the collateral for a loan issued

by J.P. Morgan, and account opening documents for a DHIP business checking account with J.P.

Morgan.

       73.     Mr. Schrank called Mr. Abate that same day, July 25. During this and another call

that day, Mr. Schrank instructed Mr. Abate not to pursue funding with J.P. Morgan, promising that

Fifth Third’s dedication to veterans and military families presented DHIP with greater opportunity

than any other lender would, and that Fifth Third would showcase DHIP as the principal military

veteran-owned business partner under Fifth Third’s “Diversity Blueprint” and community support

programs.

       74.     Mr. Schrank also reassured Mr. Abate that Fifth Third, along with Messrs.

O’Connell and Doyle, were “committed to DHIP” and that once DHIP became a loan customer of

Fifth Third, avenues for cooperation and assistance between DHIP and Fifth Third would exist at

the highest executive level. He promised that DHIP would receive attention and priority to include

investment into the funds advised by DHIP as well as distribution support. Mr. Schrank advised

that Fifth Third needed just one more day to complete their internal processes.



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       75.      In reliance on Mr. Schrank’s representations in paragraphs 73 and 74 above, Mr.

Abate terminated DHIP’s discussions with JP Morgan. In breaking off discussions with JP Morgan

(which had immediately provided the account-opening documents that had been so difficult to get

from Fifth Third), DHIP put all of its eggs in the Fifth Third basket.

       76.      On July 26, 2013, in reliance on Fifth Third’s assurances that the closing was

imminent, DHIP ensured that the required Loan Cash Guarantee of $600,000 was deposited in a

Fifth Third account to serve as partial collateral for the RLOC. This collateral was secured at great

personal cost to DHIP’s then-members in reliance on the assurance that Fifth Third Bank would

not have to underwrite for performance, and other representations of Mr. Schrank that Fifth Third

Bank would provide the RLOC, as well as the advantages set forth in paragraphs 73 and 74, above.

       77.      Mr. O’Connell told Mr. Bang by email that he was pushing “to have closing docs

today [July 26],” which again did not happen. Mr. O’Connell then said “[w]e are on track to have

closing documents on Monday [July 29].”

       78.      On Monday July 29, a $300,000 personal check from Mr. Abate (which had been

mailed on Friday, July 26) was deposited in a Fifth Third established bank account. This was the

additional personal loan cash guarantee to be used as collateral for the loan at great personal cost

to Mr. Abate.

       79.      Thus, the $900,000 loan was fully collateralized, satisfying any condition precedent

to the finalization of the loan by Fifth Third.

       80.      However, Mr. O’Connell continued to stall, assuring Mr. Bang by email on the

afternoon of July 29 that he had been “hounding our document folks all day, will know shortly [if

Bang could expect closing documents that day].”




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       81.     Mr. Terborg asked the credit department on July 30 if it was possible to have “docs

issued by this afternoon.”

       82.     On July 30, 2013, Jason Smith responded to Messrs. Terborg, Doyle, O’Connell

and Schrank that there was “no way we would be able to obtain SCO approval, complete due

diligence, and be able to fund today. Understand that this is cash-secured but it is also an 11 PD

and doesn’t cash flow. I have no idea what direction SCO will go on this so I am not comfortable

providing a direction at this time.”

       83.     Upon information and belief, PD stands for probability of default.

       84.     Senior Credit Officer (“SCO”) Debbie Huffman had rarely seen an application with

a PD of 11 because normally “it would have been declined prior to getting to me.”

       85.     Over the next two weeks, DHIP continued to inform Fifth Third that they could not

wait any longer for the funding. For example, on August 1, 2013 Mr. Bang wrote to Mr. Schrank,

“Paperwork done tomorrow and $$ wired on Monday??? (please) Obviously, we need it ASAP….”

       86.     Mr. Schrank and Mr. O’Connell continued to string DHIP along with double talk

and requests for documents that Fifth Third Bank already had or hardly needed, given that, as Mr.

O’Connell wrote back on July 17, 2013 the bank was “not underwriting for performance, since we

have the collateral we have.” Nonetheless, DHIP provided all of the requested documentation

promptly, as they had during the entire process.

       87.     On July 31, Ms. Huffman raised a number of questions to credit officer Mr.

Ottinger, including concerns about the $900,000 of collateral, the ownership of Sanlam and

whether it approved the pledge. Ms. Huffman also asked why something called the subjective

credit model was not used.




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       88.     Despite this, on August 1, 2013, Mr. Schrank falsely told DHIP that the Senior

Credit Officer (“SCO”), whose approval was necessary for the loan, had “signed off.” Discovery

in the related action showed that she had not signed off and never signed off.

       89.     And neither Mr. Schrank nor anybody else from Fifth Third told DHIP that credit

had no idea which way SCO would go, or how long it would take of that their application had been

assigned a PD score of 11, nor that such an application would normally be rejected before it got to

SCO.

       90.     Nobody from Fifth Third told DHIP that Mr. O’Connell had told Mr. Smith on July

30 that Mr. Schrank was new to banking and did not “realize what it takes to put money out the

door at the bank, even with security” nor that he had been “unrealistic all the way.”

       91.     On August 5, 2013 Mr. Bang again wrote to Mr. Schrank that “the continual and

unending delay is totally unsatisfactory and has had a severe and costly impact on our business.”

The loss of DHIP’s credibility with the Fund’s Board of Trustees, service providers to the Funds,

and affiliated party loan guarantor was escalating.

       92.     On August 5, 2013, Mr. Schrank wrote that on his call with the SCO that afternoon

he would lead with “the value add of the custodial account” and “profile becoming the keystone

of our veteran efforts.”

       93.     In complete contradiction to his multiple representations to DHIP, Mr. Schrank

astoundingly admitted in discovery in the related action that Fifth Third had no veterans’

initiatives, other than a Veterans Day event that involved sending care packages to active duty

personnel.

       94.     On August 6, Mr. Schrank wrote to DHIP that he “got the legal component solved

today” Fifth Third’s legal department needed a letter stating the benefit that Sanlam, the company



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related to Centre that provided the $600,000 in collateral, was receiving for pledging the $600,000

in collateral, apparently so that Fifth Third could ensure that all the then-members of DHIP had

the required “skin in the game”. Mr. Abate promptly responded by sending the letter requested by

Mr. Schrank summarizing the then-members’ agreement with Sanlam as well as the Sanlam board

resolution authorizing such and then followed up with another email on August 9, also at Mr.

Schrank’s request, with a copy of this agreement signed by the individual DHIP members (as

previously detailed in the requested letter).

       95.     On the morning of August 8, Mr. O’Connell emailed DHIP asking if it wanted to

fund at closing or draw at a later date, and with closing instructions. He stated: “I will email you

the doc for signature. You can sign and email back. We can close and fund with electronic copies.

Please send originals to my address below. I anticipate having documents to send you by this

afternoon.”

       96.     Mr. Bang promptly responded by email, on August 8 instructing Fifth Third to fund

immediately at closing, and promising to review, sign and return the documents quickly. In reply,

Mr. O’Connell wrote, at 10:49 am: “[s]tay tuned, we should have docs shortly.” The afternoon of

August 8 he wrote to Mr. Bang: “We are close [with the documents]. All hands are on deck to get

them out the door.” The documents were not sent on August 8, nor on Friday August 9.

       97.     Three hours after his email to DHIP, O’Connell emailed a credit officer to inquire

if the SCO had even input her comments.

       98.     On the evening of August 8, Mr. Doyle chastised Ms. Huffman, the SCO, who had

raised, at this late date, issues with DHIP’s application. “At this point I do not understand the

reasons for the delays. We have to catch these issues on the front end to avoid the disruption that

this kind of delay causes between the bank and employee and customer.”



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       99.     The next morning, August 9, 2013, reacting to Ms. Huffman’s concern about the

collateral documents and Fifth Third employees’ failure to comply with her “original requirement”

for “the review and warranting of the collateral documents by legal counsel,” Mr. Doyle told Mr.

O’Connell, Mr. Terborg, Ms. Huffman and others “I am ready just to move on with a no here.”

       100.    Nobody ever reported this to DHIP, which was left to believe that wires were to be

sent out imminently on August 8.

       101.    On August 9, as SCO, Ms. Huffman placed conditions for approval on DHIP’s

application, which O’Connell misrepresented to DHIP as “some wrangling in our legal with the

verbiage in the pledge resolution from Sanlam. We are almost there.”

       102.    Not five minutes later on August 9, Mr. Terborg wrote to Mr. Schrank and Mr.

Doyle listing items they now desired from DHIP and said “I would reset expectations that

documents are a week away because ‘Legal’ will have to review our collateral documentation.”

       103.    This reset of expectations was never attempted.

       104.    That same day, Mr. Shrank was discussed the value of DHIP’s custodial accounts

with employees in Fifth Third’s Global Securities Services.

       105.    On August 12, 2013, Ms. Huffman and a Fifth Third lawyer raised concerns about

the facts that were not previously raised to them and Ms. Huffman asked why these facts were not

known earlier. Fifth Third credit officer Phillip Ottinger replied that “between the field and the

BLC a of information and questions that are normally a part of the loan process did not take place.”

       106.    Later on August 12, a Fifth Third attorney informed Mr. O’Connell and Mr.

Ottinger that the structure employed potentially created a concern that some party could claim a

of a fraudulent conveyance and as such that the Credit department needed to get comfortable with

the structure. This email was forwarded to Mr. Schrank.



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       107.    Instead of resetting expectations, or informing DHIP of these new concerns, on

Monday August 12, 2013, with the collateral in place since July 29, and after weeks of false starts

and broken promises, Fifth Third’s Mr. Schrank wrote this bald-faced lie to DHIP: “legal is

complete, closing is imminent based on credit telling doc team to release. Credit was waiting on

legal so this is done.” (emphasis added).

       108.    Based on the representation that “this is done,” DHIP decided not to withdraw their

collateral and seek alternative financing from another lender, as Mr. Abate had wanted to do the

previous Friday August 9.

       109.    But the RLOC was not “done” on August 12, nor ever. On August 13, Huffman

informed Mr. Terborg and Mr. O’Connell that “Fifth Third will not be moving forward with the

transaction” and that they should communicate with the borrower.

       110.    Fifth Third did not communicate this to DHIP.

       111.    On August 14, Mr. Schrank asked Mr. Robinson for two years of financials for

Sanlam, which DHIP sent to him that same day.

       112.    In the days after Mr. Schrank wrote that the RLOC was “done,” Fifth Third Bank

abruptly stopped communicating with DHIP.

       113.    On August 15, 2013, as a direct result of Fifth Third’s failure to provide the RLOC,

which was “done” on August 12, compounded by the failure of Fifth Third to communicate further,

DHIP’s creditor, Centre, which is majority owned and controlled by Sanlam (the affiliated loan

guarantor), issued a loan demand for payment, stating that it would exercise its full right to collect

owed monies if the loan remained unpaid by August 19, 2013.

       114.    On August 16, 2013 Fifth Third’s Mr. Schrank informed Mr. Robinson by text

message that Fifth Third would not provide the promised RLOC to DHIP.



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       115.    Thus, the fully collateralized RLOC that was “done” earlier in the week was now

somehow undone, and disapproved.

       116.    By this time, it was too late for DHIP to reach out to another bank to obtain funding

by the August 19, 2013 collection deadline on the prior loan, the reputations of DHIP and its then-

members with the Funds’ Board of Trustees had been irreparably harmed and DHIP was now

unable to maintain its status of good standing with regard to the nature, extent, and quality of

services on its existing advisory contract to the Funds it managed which would result in the

termination of its investment advisory agreement with the Funds and loss of all of its revenue.

                            Consequences of Fifth Third’s Conduct

       117.    Upon learning that Fifth Third had reneged on its promises, Abate and the loan

guarantor (Sanlam) immediately withdrew their cash collateral deposited at Fifth Third.

       118.    However, the damage to DHIP was irreparable.

       119.    The loss of the expected $900,000 RLOC left DHIP short of working capital, unable

to meet Centre’s August 19 deadline to retire its past-due older debt, and unable to meet its

commitments as the investment adviser to the Board of Trustees of the Funds for growth in the

Funds (e.g., employment of other disabled veterans, preparation for launch of a new fund series

and share classes to complement the existing Funds, and other actions that were put in place based

upon Fifth Third Bank’s commitment to DHIP).

       120.    Because it could no longer retire the older debt as it had promised to do, and could

not meet ongoing and new growth capital commitments, DHIP became nearly insolvent, unable to

continue as a going concern and incapable of further growth.

       121.    On September 13, 2013 the Funds’ Board of Trustees terminated DHIP as the

investment adviser to the Funds it managed, principally because of its inability to continue as a



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going concern and execute on its commitments for growth due to Fifth Third Bank’s failure to

honor its commitment to DHIP.

       122.    The stripping of DHIP’s mutual fund investment advisory contract resulted in the

loss of all DHIP’s assets under management.

       123.     Unable to retire its past due debt, unable to continue as a going concern and

consequently stripped of its advisory business, effective September 14, 2013 Sanlam requested

that DHIP’s then-members sell their membership interests for a nominal payment to Centre, the

creditor of its existing debt, pursuant to the terms as expressed in the Sanlam Agreement. As

described above, the creditor had previously agreed to a period of forbearance with DHIP based

on Fifth Third’s representations that the RLOC was imminent.

       124.    DHIP’s then-members received only nominal consideration for their membership

interests in DHIP after its termination by the mutual fund Board of Trustees and loss of all of its

assets under management.

       125.    DHIP therefore lost its position as the first Service Disabled Veteran Small

Business investment management firm managing a series of registered mutual funds with assets

over $200 million in management from institutions and other investors.

       126.    Given the lead time necessary to become an SEC registered investment adviser,

build the investment management infrastructure, launch products, raise assets, and establish a track

record, it would be impossible to become a first mover in this area again.

       127.    Furthermore, DHIP’s charter was to work to benefit the community of service-

disabled veterans by recruiting, hiring and training disabled military veterans, such as Mr.

Robinson, whenever possible, for careers in investment management.




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       128.     Given DHIP’s destruction, Fifth Third Bank has denied it the opportunity to hire

additional disabled-veterans attempting to transition to the investment management industry.

       129.     DHIP has lost all of the funds it had under management and has been de-registered

with the SEC.

       130.     Thus, a rapidly growing business enterprise was put out of existence by Fifth

Third’s conduct.

       131.     As a consequence of Fifth Third’s broken promises, DHIP was totally and

permanently impaired and its then-members lost their membership interests in DHIP, and therefore

all of their shares in DHIP, which had an indicated fair market value of approximately $17.5

million and as high as $50.1 million.

       132.     DHIP and its then-members’ reputations within the investment management

business have been damaged by DHIP’s termination as the investment adviser to the funds.

                                   FIRST CAUSE OF ACTION
                                      (Promissory Estoppel)

       133.     DHIP repeats and realleges each and every allegation set forth above as if fully set

forth herein.

       134.     Defendant Fifth Third and/or its personnel made clear and unambiguous promises

to DHIP, including but not limited to that: (a) “legal is complete, closing is imminent based on

credit telling doc team to release,” that (b) “[c]redit was waiting on legal so this is done,” (c) they

were interested in developing a long-term relationship with DHIP, (d) that it wanted to showcase

DHIP as a “marquee client” for their veteran’s initiative and establish a “Mentor-Protégé”

relationship with DHIP, (e) at an early stage, that Mr. Schrank had about 80% informal approval

from Fifth Third’s office of financial institutions for an unsecured RLOC, (f) Fifth Third was

“committed” to DHIP, (g) that with the 100% full cash collateral Fifth Third requested, the loan

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was a “slam dunk” (h) there was no approval risk for the loan because Fifth Third was “not

underwriting based on performance” since it had full collateral, (i) Mr. O’Connell would send the

documents for Mr. Abate to review “shortly,” (j) the loan “should be wrapped up this week,” (k)

to “[s]tay tuned, we should have the docs shortly,” (l) “[w]e are close [with the documents]. All

hands are on deck to get them out the door,” (m) Mr. O’Connell would “email . . . the doc for

signature,” and that “we can close and fund with electronic copies,” and, (n) in convincing DHIP

not to pursue a loan with JP Morgan or any other bank, that Fifth Third would showcase DHIP as

the principal military veteran-owned business partner under Fifth Third’s “Diversity Blueprint”

and community support programs.

         135.   DHIP reasonably and foreseeably relied on the aforesaid promises by Defendant

Fifth Third by, among other things, (a) terminating discussions with another bank and not seeking

financing from any other source; (b) entering into an agreement with Sanlam under which DHIP’s

then-members granted Sanlam the option to purchase their membership interests in DHIP for

nominal payment in the event of a default event, in exchange for Sanlam providing $600,000 of

cash collateral to support the loan promised by Fifth Third; (c) in the case of Mr. Abate, personally

providing collateral for the RLOC; and (d) presenting to the Funds’ Board of Directors their growth

plan and their ability to execute on it, as well as the benefits promised by Fifth Third.

         136.   Fifth Third knew or reasonably should have known that DHIP and its then-members

took or were taking the above actions in reliance on Fifth Third’s statements and promises.

         137.   Fifth Third breached its promises, including but not limited to those set forth

above.

         138.   Fifth Third violated a duty it owed to DHIP having its origin in circumstances

independent of and extrinsic to any duty owed to DHIP.



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       139.      As a consequence of its reasonable reliance on Fifth Third’s promises, DHIP’s

business was totally and permanently impaired, as, among other things, it lost all of the funds it

had under management and was then unable to conduct business as a registered investment adviser

(with the SEC).

       140.      DHIP personally suffered unique injuries including but not limited to the loss of

their membership interests in DHIP, harm to their professional reputations and loss of partner

distributions.

       141.      DHIP was harmed in an amount to be determined at trial, but in no event less than

$17.5 million.

                                 SECOND CAUSE OF ACTION
                                         (Fraud)

       142.      DHIP repeats and realleges each and every allegation set forth above as if fully set

forth herein.

       143.      As set forth above, from March to August 2013, defendant Fifth Third and/or its

agents or personnel made intentional and material misrepresentations of existing fact to DHIP,

which Fifth Third intend to cause – and did cause – DHIP to the believe that RLOC would be

approved an funded imminently and which were intended to cause – and did cause – DHIP to forgo

seeking financing from any other lender. These misrepresentations included, but were not limited

to: (a) that “legal is complete, closing is imminent based on credit telling doc team to release,” that

(b) “[c]redit was waiting on legal so this is done, (c) they were interested in developing a long-

term relationship with DHIP, (d) at an early stage, that Mr. Schrank had about 80% informal

approval from Fifth Third’s office of financial institutions for an unsecured RLOC, (e) that Fifth

Third was “committed” to DHIP, (f) that the RLOC went into processing on April 25 and that it

would be approved and closed within one week; (g) that there was no approval risk for the loan

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because Fifth Third was “not underwriting based on performance” since they had full collateral,

(h) that Mr. O’Connell would send the documents for Mr. Abate to review “shortly,” (i) the loan

was “bumped to the front of the line” and “should be wrapped up this week,” (j) to “[s]tay tuned,

we should have the docs shortly,” (k) that “[w]e are close [with the documents]. All hands are on

deck to get them out the door,” and (l) Mr. O’Connell would “email . . . the doc for signature,” and

that “we can close and fund with electronic copies,” and, (m) in convincing DHIP not to pursue a

loan with another bank, that Fifth Third would showcase DHIP as the principal military veteran-

owned business partner under Fifth Third’s “Diversity Blueprint” and community support

programs.

        144.   Upon information and belief, defendant Fifth Third and/or its agents or personnel

made these misrepresentations knowingly or recklessly, with intent to induce reliance thereon by

DHIP.

        145.   In order to prevent discovery of its misrepresentations, Fifth Third also actively hid

from DHIP its internal conversations that painted a very different picture of the status of the RLOC

and the chances that it would be funded, despite all of Fifth Third’s protestations to the contrary.

Specifically, among other things, Fifth Third hid that (a) on June 3, 2013 Mr. O’Connell was not

sure he wanted to work with DHIP and on June 17 he had already “passed” on the deal twice; (b)

on July 10, 2013 Mr. O’Connell was going to end the “charade” and inform DHIP that Fifth Third

was not interested in working with them; (c) on July 11, Mr. Doyle was “out” on the loan; (d) the

veterans’ initiative that Mr. Schrank touted on July 25 simply did not exist; (e) on July 30 Mr.

Terborg was told that there was “no way” the RLOC could be completed that day and that the

credit officer had “no idea” if Ms. Huffman would approve it and that the application had been

assigned a PD 11 and did not cash flow; (f) on August 8 Mr. O’Connell did not even know if MS.



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Huffman had input her comments; (g) on August 9 that Mr. Doyle was “just ready to move on with

no from here: and that expectations were supposed to be reset that documents were a week away”;

and (h) on August 12 or later that Fifth Third was concerned that the Sanlam pledge indicated a

risk of a potential claim of fraudulent conveyance.

       146.     DHIP justifiably and reasonably relied on Fifth Third’s misrepresentations,

including but not limited to by (a) limiting its application for financing to Fifth Third for more

than five months, (b) terminating its discussions with JP Morgan seeking alternate financing (c)

presenting to the Funds’ Board of Directors their growth plan and their ability to execute on it, as

well as the benefits promised by Fifth Third, and (d) pledging and causing Sanlam to pledge an

aggregate of $900,000 to collateralize the loan as Fifth Third required.

       147.     DHIP suffered unique actual, consequential, and special damages, including

damages separate and apart from those recoverable as contract damages, as a result of their reliance

on Defendant’s misrepresentations, including the loss of DHIP’s entire business.

       148.     DHIP was harmed in an amount to be determined at trial, plus punitive damages.


                                  THIRD CAUSE OF ACTION
                                     (Breach of Contract)

       149.     DHIP repeats and realleges each and every allegation set forth above as if fully set

forth herein.

       150.     DHIP and Fifth Third entered into a valid and binding oral contract to enter into a

loan agreement, defining the amount, term, interest rate, and provisions for repayment of the

RLOC, as well as for providing the cash collateral to secure it. Fifth Third then represented that

the deal was “done.”




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       151.      On July 26 and July 29, 2013, DHIP caused the collateral to be deposited at Fifth

Third, $300,000 by Mr. Abate and $600,000 from Sanlam (which provided the collateral in

exchange for an option to acquire DHIP’s then-members’ equity interests in DHIP for nominal

consideration upon an event of default).

       152.      At all times relevant to this Complaint, DHIP satisfactorily completed its

obligations under the loan agreement by, among other things, providing all information requested

by Fifth Third and depositing full collateral for the loan.

       153.      At all times relevant to this Complaint, DHIP was ready, willing and able to

continue performance under the agreement.

       154.      Fifth Third willfully violated the loan agreement by failing to issue the RLOC to

DHIP according to the parties’ agreement.

       155.      Fifth Third knew that DHIP needed a loan imminently and that its business would

suffer damage if its obligation to lend money was breached.

       156.      Fifth Third’s failure to issue the RLOC to DHIP constituted a breach of the loan

agreement.

       157.      DHIP was harmed by Fifth Third’s breach of the agreement as set forth above, and

suffered direct, proximate, actual, consequential and special damages including the loss of their

membership interests in DHIP, harm to their professional reputations and loss of partner

distributions

       158.      DHIP was harmed in an amount to be determined at trial, but in no event less than

$17.5 million.




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                                FOURTH CAUSE OF ACTION
                (Breach of the Implied Covenant of Good Faith and Fair Dealing)

        159.     DHIP repeats and realleges each and every allegation set forth above as if fully set

forth herein.

        160.     DHIP and Fifth Third entered into a valid and binding oral contract to enter into a

loan agreement for the RLOC.

        161.     Implied in all contracts, including the loan agreement, is a covenant of good faith

and fair dealing which is breached when a party to the contract acts in a manner that, although not

constituting a breach of the contract, deprived the other party to the contract of the right to receive

the benefits of the agreement.

        162.     At all times relevant to this Complaint, DHIP performed satisfactorily its

obligations under the loan agreement.

        163.     At all times relevant to this Complaint, DHIP was ready, willing and able to

continue performance under the loan agreement.

        164.     Fifth Third repeatedly represented that the RLOC was close to being issued, that

closing documents were imminent, they required DHIP’s then-members to provide 100 percent

cash collateral as Fifth Third’s delay caused the situation to become more dire, and assured DHIP

that this collateralization would make their loan a “slam dunk.” Finally, Fifth Third represented

that the deal was “done,” but then cut off communication and texted Mr. Robinson that the RLOC

would not be issued. These actions by Fifth Third were in bad faith and in breach of the obligation

to act in good faith.

        165.     As a direct result of Fifth Third’s bad-faith actions in stringing along DHIP to its

detriment and then backing out of its commitment, Fifth Third breached the implied covenant of

good faith and fair dealing.

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       166.      Fifth Third’s breach of the covenant of good faith and fair dealing was the

proximate cause of the destruction of DHIP.

       167.      DHIP was harmed in an amount to be determined at trial, but in no event less than

$17.5 million.

                 WHEREFORE, DHIP respectfully demands judgment as follows:

                 a.     On the First Cause of Action, an award in an amount to be determined at

trial, but in no event less than $17.5 million plus interest and consequential damages;

                 b.     On the Second Cause of Action, an award in an amount to be determined

at trial, plus interest, consequential and punitive damages;

                 c.     On the Third Cause of Action, an award in an amount to be determined at

trial, but in no event less than $17.5 million plus interest and consequential damages;

                 d.     On the Fourth Cause of Action, an award in an amount to be determined at

trial, but in no event less than $17.5 million plus interest and consequential damages;

                 e.     Special and punitive damages;

                 f.     Awarding DHIP such other and further relief as the Court may deem

necessary, just or appropriate.

Dated: New York, New York
       March 6, 2019

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